  Case 21-10176-JDW        Doc 64 Filed 11/04/21 Entered 11/04/21 18:56:26                 Desc Notice
                             of Motion with Standing Page 1 of 1
                                                                                           CM/ECF ntcm2
                                                                                           (Rev. 01/04/17)

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

In Re: Eurnell Hoyle                              )                 Case No.: 21−10176−JDW
       Debtor(s)                                  )                 Chapter: 13
                                                  )                 Judge: Jason D. Woodard
                                                  )
                                                  )


      NOTICE IS HEREBY GIVEN that a:
             61 − Motion To Suspend Plan Payments Filed by Robert Hudson Lomenick Jr. on
             behalf of Eurnell Hoyle. (Attachments: # 1 Matrix) (Lomenick, Robert)

      LAST DAY TO FILE OBJECTIONS OR RESPONSES IS 11/12/21.
      Should any party receiving this notice respond or object to said motion such response or
objection is required to be filed with the Clerk of this court and served on the Attorney for
Movant on or before said date; otherwise, the Court may consider said motion immediately after
the objection or response due date.
       A copy of the motion and this notice must be served pursuant to Fed. R. Bankr. P. 9013 and
9014. THE MOVING PARTY'S ATTORNEY IS REQUIRED BY STANDING ORDER TO
PERFORM NOTICING AS TO SAID MOTION AND THIS NOTICE ACCORDING TO THE
TERMS OF SAID STANDING ORDER. Please see the Standing Order available at:
http://www.msnb.uscourts.gov/sites/msnb/files/so_notic_revised.pdf
Dated: 11/4/21
                                                      Shallanda J. Clay
                                                      Clerk, U.S. Bankruptcy Court
                                                      BY: WC
                                                          Deputy Clerk
